            Case 2:19-cv-00239-GMS Document 28-1 Filed 10/05/19 Page 1 of 2



1

2

3

4

5

6

7                        IN THE UNITED STATES DISTRICT COURT

8                                   DISTRICT OF ARIZONA
9
     Ronald H. Pratte,                               Case No.: 2: 19-cv-00239-PHX-GMS
10
                  Plaintiff,
11
                                                     ORDER GRANTING JOINT MOTION
12   vs.
                                                     TO MODIFY CASE MANAGEMENT
13                                                              ORDER
     Jeffrey Bardwell and Fanny F. Bardwell,
14
     husband and wife,

15                Defendants.

16

17         Upon review of the Parties’ Joint Motion to Modify Case Management Order and
18   for good cause shown,
19
           IT IS HEREBY ORDERED granting the Parties’ Joint Motion to Modify Case
20

21   Management Order.

22         IT IS FURTHER ORDERED the deadline for final supplementation of MIDP
23
     responses and the completion of fact discovery, including discovery by subpoena is
24
     January 31, 2020.
25

26
           IT IS FURTHER ORDERED Plaintiff shall provide full and complete expert
27
     disclosures not later than February 21, 2020.
28
           IT IS FURTHER ORDERED Defendants shall provide full and complete expert



                                                 1
            Case 2:19-cv-00239-GMS Document 28-1 Filed 10/05/19 Page 2 of 2



1
     disclosures not later than March 13, 2020.
2
           IT IS FURTHER ORDERED both parties shall provide rebuttal expert disclosures
3
     by April 10, 2020.
4
           IT IS FURTHER ORDERED all expert depositions shall be completed by May
5
     15, 2020.
6
           IT IS FURTHER ORDERED dispositive motions, if any, shall be filed not later
7
     than June 5, 2020.
8

9
           IT IS FURTHER ORDERED that on or before May 8, 2020, the parties shall

10   exchange two-page letters regarding any anticipated dispositive motions, and on May 8,

11   2020, the parties also shall contact the Court to schedule a time for the pre-motion

12   conference, if needed.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                  2
